

People v Laframboise (2025 NY Slip Op 01489)





People v Laframboise


2025 NY Slip Op 01489


Decided on March 14, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., BANNISTER, OGDEN, NOWAK, AND KEANE, JJ.


140 KA 23-02012

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vCHRISTOPHER M. LAFRAMBOISE, DEFENDANT-APPELLANT. 






ADAM H. VAN BUSKIRK, AUBURN, FOR DEFENDANT-APPELLANT. 
BRITTANY GROME ANTONACCI, DISTRICT ATTORNEY, AUBURN (CHRISTOPHER T. VALDINA OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Cayuga County Court (Thomas G. Leone, J.), rendered November 16, 2023. The judgment convicted defendant, upon his plea of guilty, of attempted murder in the second degree and assault in the first degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: March 14, 2025
Ann Dillon Flynn
Clerk of the Court








